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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                    )
UNITED STATES OF AMERICA                            )
                                                    )       Criminal No. 81-306 (PLF)
              v.                                    )
                                                    )       UNDER SEAL
JOHN W. HINCKLEY, JR.                               )
                                                    )


        NOTICE OF FILING OF GOVERNMENT EXPERT REPORTS AND
    GOVERNMENT'S RESPONSE TO DEPARTMENT OF BEHAVIORAL HEALTH’S
         RECOMMENDATION FOR MODIFICATIONS TO DEFENDANT’S
                        CONVALESCENT LEAVE

       The United States, by and through its attorney, the United States Attorney for the District of

Columbia, hereby submits to the Court the attached October 16, 2018, Independent Forensic

Psychiatric Evaluation of John W. Hinckley, Jr., by Dr. Raymond Patterson and October 22, 2018,

Independent Forensic Psychological Evaluation by Dr. Mitchell Hugonnet as well as the Violence

Risk Assessment Update of July 27, 2018, completed by Dr. Samantha Benesh, on behalf of the

Department of Behavioral Health (DBH).. The Government also responds to DBH’s August 2018

recommendation for modifications to the conditions of Mr. Hinckley’s convalescent leave to reside

in the community with his mother, receive outpatient treatment from various providers in

Williamsburg, Virginia and undergo continued monitoring by DBH’s Forensic Outpatient

Department (FOPD) in Washington, D.C.

       Drs. Patterson, Hugonnet, and Benesh all conclude that Mr. Hinckley remains mentally

stable, compliant with treatment and with the current conditions of his convalescent leave. They all

agree that modifications to Mr. Hinckley’s conditions of convalescent leave are appropriate.

Accordingly, pursuant to Condition 32 of this Court’s July 27, 2016, Order of convalescent leave,

the parties met and have agreed to the proposed modifications to Mr. Hinckley’s convalescent
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leave. Further, the parties have drafted and agreed upon the attached Consent Order for said

modifications and hereby submit the proposed order to the Court for review.



                                                    Respectfully submitted,

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